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 12.   Alfred Davis
       City of Auburn, Alabama
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       Auburn, AL 36830

 13.   Grant A. Fraker
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 14.   Jennifer Blondeau
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 15.   Ashley Lee
       Child Advocacy Center, Inc.
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       Opelika, AL 36801

 16.   Captain Robin Collins
       Macon County Sheriff’s Office
       246 County Road 10
       Tuskegee, AL 36083

 17.   Wesley McClain
       Macon County Sheriff’s Office
       246 County Road 10
       Tuskegee, AL 36083

 18.   Michael Provo
       Macon County Sheriff’s Office
       246 County Road 10
       Tuskegee, AL 36083

 19.   Darrian Locure
       City of Tuskegee
       1106 Notasulga Road
       Tuskegee, AL 36083


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     Case 3:14-cv-01033-ALB-SMD Document 210 Filed 03/28/21 Page 5 of 5




                            CERTIFICATE OF SERVICE

      I certify that I electronically filed the foregoing with the Clerk of Court using the

Court’s CM/ECF system, which will send electronic notification of filing to counsel of

record for Defendant City of Tuskegee, Alabama. In addition, I served a copy of the

foregoing by U.S. Mail, properly addressed with postage prepaid to the following

unrepresented party:

Levy Kelly
160 Stone Park Blvd., Apt. 2409
Pike Road, AL 36063

      This the 28th day of March, 2021.


                                          /s/ Algert S. Agricola, Jr.
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